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99000 AT&T LTE

€< Back

05/21/2015 @ 3:44 PM

&

& Sweet 17 mus

% Kentucky
Cool

What are u looking to
do?

Hoping to find guys
close to meet

Sounds good

One sec =

 
Case 3:15-cr-00083-DJH Document 29-12 Filed 01/01/16 Page 2 of 7 PagelD #: 500

Sorry about my pubes, |
i haven't trimmed in a few

fe

 
Case 3:15-cr-00083-DJH Document 29-12 Filed 01/01/16 Page 3 of 7 PagelD #: 501

Sorry about my
haven't trimmed
weeks

ae Moar GanaAnela:
“Type i

 
Case 3:15-cr-00083-DJH Document 29-12 Filed 01/01/16 Page 4 of 7 PagelD #: 502

Yeah tol

Aro u married?

Him in my bathroom

ie Any others of him?

 
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Or anyone you've had
sex with?

& ‘| haven't had sex before

2 ) Feo bad

"I'd love to get the
chance to be your first

@ I'm @ top tho

| mean I've got an okay
sized dick oo

 
Case 3:15-cr-00083-DJH Document 29-12 Filed.01/01/16 Page 6 of 7 PagelD #: 504

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© sveddick

@

Ge | think I'm average size

 
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Nah | don't like vids
much i

& %

 
